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                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF CALIFORNIA


PHYLLIS D. FULTZ ,

                             V.                               SUMMONS IN A CIVIL CASE
PAYCHEX, INC. ,
                                                       CASE NO: 2:19−CV−00196−JAM−EFB




   TO: Paychex, Inc.
Defendant's Address:




   YOU ARE HEREBY SUMMONED and required to serve on



Nicholas Michal Wajda
11400 W. Olympic Boulevard
Suite 200
Los Angeles, CA 90064

an answer to the complaint which is served on you with this summons, within 21 days after
service of this summons on you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint. Any answer that you serve
on the parties to this action must be filed with the Clerk of this Court within a reasonable period
of time after service.




  MARIANNE MATHERLY
CLERK




  /s/ R. Becknal




(By) DEPUTY CLERK                                                     ISSUED ON 2019−02−01 08:53:52.0 , Clerk
                                                                                 USDC EDCA
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                                                              RETURN OF SERVICE
                                                          DATE
Service of the Summons and complaint was made by me (1)
NAME OF SERVER (PRINT)                                    TITLE


Check one box below to indicate appropriate method of service




               Served personally upon the defendant. Place where served: _______________________________________
               ________________________________________________________________________
               Left copies thereof at the defendant's dwelling house or usual place of bode with a person of suitable age and
               discretion then residing therein.

               Name of person with whom the summons and complaint were left:__________________________________

               Returned unexecuted:_____________________________________________________________________
               _________________________________________________________________________
               ________________________________________________________________________
               Other (specify) :_________________________________________________________________________
               ________________________________________________________________________
               ________________________________________________________________________



                                                          STATEMENT OF SERVICE FEES
TRAVEL                                       SERVICES                                             TOTAL

                                                            DECLARATION OF SERVER

             I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on            ___________________                    _______________________________________
                                               Date                     Signature of Server

                                                                        _______________________________________
                                                                        Address of Server
